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                                       14




                       Exhibit “1”
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

              38         Redacted                                 138,534.93
             20391       Redacted                                 169,579.96
             20623       Redacted                                  39,148.34
              503        Redacted                                  61,250.10
              411        Redacted                                  47,416.66
             20640       Redacted                                 221,000.00
              450        Redacted                                  11,347.00
              263        Redacted                                 200,666.66
             20186       Redacted                                 687,166.67
              510        Redacted                                  50,000.00
             20641       Redacted                                  93,693.30
             20560       Redacted                                  64,613.11
              77         Redacted                                  91,909.96
              150        Redacted                                  93,833.34
             20634       Redacted                                 138,438.67
             20068       Redacted                                 901,666.71
              208        Redacted                                 268,300.00
             20422       Redacted                                 165,259.67
              211        Redacted                                  19,066.69
              296        Redacted                                 236,776.66
              99         Redacted                                 189,500.00
             20007       Redacted                                  46,500.00
              55         Redacted                                  92,851.63
             20462       Redacted                                  47,666.69
             20045       Redacted                                  97,766.68
              373        Redacted                                  81,494.33
             20284       Redacted                                  94,433.36
             20202       Redacted                                  48,833.32
             20432       Redacted                                 100,000.00
              67         Redacted                                  41,566.65
              305        Redacted                                 236,875.00
             20684       Redacted                                 275,281.82
             20692       Redacted                                 200,000.00
              333        BLUE STREAM INCOME FUND                1,546,436.51
             20108       Redacted                                  98,500.01
              513        Redacted                                  61,220.82
             20082       Redacted                                 145,760.00
             20397       Redacted                                  97,173.00
             20126       Redacted                                  73,868.91
              415        Redacted                                 276,877.34
              416        Redacted                                 203,735.82
Case 9:20-cv-81205-RAR Document 1843-1 Entered on FLSD Docket 04/22/2024 Page 3 of
                               Allowed Investor
                                         14 Claims




          Confirmation
                                                                 Allowed Claim
            Number /             Who is the current creditor?
                                                                       Amount
          Claim Number

             20019       Redacted                                    86,117.41
              490        Redacted                                    83,133.33
              Bulk       Redacted                                49,796,546.95
             20482       Cape Cod Income Fund                     1,002,683.49
             20338       Capricorn Income & Capricorn Parallel   14,582,727.80
              441        Redacted                                    48,833.32
              443        Redacted                                    92,292.44
              491        Redacted                                   198,975.00
              242        Redacted                                    96,218.31
              243        Redacted                                    97,173.00
              244        Redacted                                    50,000.00
              204        Redacted                                    47,375.00
             20305       Redacted                                   158,522.01
              141        Redacted                                   138,438.67
             20344       Redacted                                   164,391.65
             20137       Redacted                                   119,483.37
             20270       Redacted                                   473,770.00
              471        Redacted                                   116,103.31
             20472       Redacted                                   102,685.51
              179        Redacted                                   244,306.66
              180        Redacted                                    97,173.00
             20700       Redacted                                    82,751.59
              308        Redacted                                   127,912.50
             20001       Redacted                                   485,970.00
             20013       Redacted                                    13,716.68
              398        Redacted                                    38,066.69
              168        Redacted                                    97,173.00
             20090       Redacted                                    19,696.82
               92        Redacted                                   145,760.00
             20204       Redacted                                    67,625.00
             20535       Redacted                                   447,751.93
             20537       Redacted                                   965,000.00
              154        Redacted                                   158,666.66
             20297       Redacted                                   467,604.25
              137        Redacted                                   468,435.00
              504        Redacted                                   432,165.67
              505        Redacted                                    97,173.00
              303        Redacted                                    93,693.30
              276        Redacted                                    97,173.00
              152        Redacted                                 1,472,500.00
              474        Redacted                                   193,749.90
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

              234        Redacted                                 97,355.52
              265        Redacted                                 65,000.00
              30         Redacted                                203,043.39
              31         Redacted                                108,583.36
              84         Redacted                                 92,009.96
              236        Redacted                                138,438.67
              83         Redacted                                486,070.00
              177        Redacted                                 97,666.68
             20373       Redacted                                 84,903.26
             20374       Redacted                                180,433.29
             20375       Redacted                                146,600.00
             20604       Redacted                                184,584.90
               7         Redacted                                164,500.00
             20012       Redacted                                 13,716.66
             20377       Redacted                                184,584.90
              115        Redacted                                235,100.00
             20219       Redacted                                111,200.00
             20220       Redacted                                336,000.00
             20455       Redacted                                560,543.38
              193        Redacted                                 94,775.00
              192        Redacted                                 83,133.33
              283        Redacted                                 97,666.68
             20478       Redacted                                225,516.71
              301        Redacted                                 19,066.62
              378        Redacted                                244,773.34
              466        Redacted                                 99,333.34
             20307       Redacted                                110,750.94
             20448       Redacted                                 97,666.68
             20449       Redacted                                242,666.66
              232        Redacted                                249,326.66
             20247       Redacted                                138,438.67
             20245       Redacted                                482,771.69
              348        Redacted                                 42,501.65
             20044       Redacted                                 97,666.68
             20264       Redacted                                286,146.74
              88         Redacted                                 99,333.34
             20476       Redacted                                183,666.63
              324        Redacted                                124,550.00
               3         Redacted                                789,550.00
             20637       Redacted                                172,771.63
             20639       Redacted                                 42,665.24
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

             20636       Redacted                                 25,000.00
              125        Redacted                                 40,916.59
             20042       Redacted                                676,350.00
             20508       Redacted                                 72,880.00
             20444       Redacted                                166,126.41
              434        Redacted                                147,667.92
             20652       Redacted                                 80,000.00
             20653       Redacted                                200,000.00
             20464       Redacted                                 99,433.34
             20299       Redacted                                120,618.32
              111        Redacted                                461,462.24
              427        Redacted                                 92,292.44
              545        Redacted                                200,000.00
             20675       Redacted                                114,791.63
             20674       Redacted                                173,833.34
             20441       Redacted                                326,766.66
              140        Redacted                                114,200.00
              254        Redacted                                 97,559.96
             20212       Redacted                                 96,118.31
              250        Redacted                                 98,500.01
              251        Redacted                                 51,851.37
              157        Redacted                                258,000.00
              431        Redacted                                200,000.00
              472        Redacted                                858,333.26
             20490       Redacted                                 24,416.68
              531        Redacted                                 44,375.00
              60         Redacted                                873,333.34
              256        Redacted                                  9,533.31
              212        Redacted                                561,000.00
              217        Redacted                                142,136.63
              120        Redacted                                233,750.03
             20745       Redacted                                 95,266.69
              26         Redacted                                 92,751.63
              486        Redacted                                101,721.03
              277        Redacted                                278,833.33
             20440       Redacted                                141,600.00
             20278       Redacted                                256,666.66
              47         Redacted                                164,527.67
              330        Redacted                                378,675.00
              437        Redacted                                 50,000.00
              438        Redacted                                 50,000.00
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                                Allowed Claim
            Number /             Who is the current creditor?
                                                                      Amount
          Claim Number

              436        Redacted                                  50,000.00
             20190       Redacted                                  91,909.96
              287        Redacted                                  13,435.17
              288        Redacted                                  30,000.00
              81         Redacted                                 157,500.00
             20578       GR8 Income Fund LLC                    1,303,000.04
             20594       Redacted                                  80,000.00
              533        Redacted                                  37,666.67
              347        Redacted                                 145,760.00
              109        Redacted                                  65,000.00
             20471       Redacted                                 138,138.00
             20241       Redacted                                 182,099.96
              28         Redacted                                 253,066.66
              29         Redacted                                 245,266.66
              129        Redacted                                 249,326.66
             20048       Redacted                                 454,999.96
             20172       Redacted                                  93,693.30
              132        Redacted                                  25,633.34
              105        Redacted                                 295,000.00
             20710       Redacted                               1,833,333.41
             20272       Redacted                                 400,000.00
             20500       Jade Fund LLC                            189,275.00
              230        Redacted                                  63,600.00
              537        Redacted                                 369,169.80
             20028       Redacted                                  92,292.44
             20136       Redacted                                 556,100.00
              290        Redacted                                 385,700.00
              291        Redacted                                 350,400.00
              46         Redacted                                  70,125.00
              335        Redacted                                  94,434.97
             20477       Redacted                                 180,433.29
             20065       Redacted                                  83,133.33
             20067       Redacted                                 188,666.64
             20294       Redacted                                 202,358.64
             20191       Redacted                                 393,333.34
              225        Redacted                                 118,016.64
             20409       Redacted                                 198,666.66
              534        Redacted                                  28,200.00
              241        Redacted                                  97,801.65
             20367       Redacted                                 186,344.93
              353        Redacted                                  92,292.44
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

              340        Redacted                                 95,276.64
              455        Redacted                                268,500.00
              259        Redacted                                252,651.00
              253        Redacted                                 91,068.29
             20127       Redacted                                 82,751.59
              16         Redacted                                474,280.00
              136        Redacted                                132,350.00
              383        Redacted                                 84,902.96
              82         Redacted                                195,433.32
              220        Redacted                                 94,433.36
              215        Redacted                                154,733.35
             20739       Redacted                                108,300.00
              344        Redacted                                 59,600.00
              547        Redacted                                 93,693.30
              487        Redacted                                 57,200.00
             20704       Redacted                                200,000.00
              447        Redacted                                491,915.00
              219        Redacted                                 46,433.36
              461        Redacted                                 81,594.33
              108        Redacted                                 53,566.69
             20671       Redacted                                249,426.66
             20672       Redacted                                183,666.63
              299        Redacted                                170,488.30
              135        Redacted                                 46,766.69
             20371       Redacted                                 49,349.99
             20350       Redacted                                844,774.90
             20401       Redacted                                113,375.01
              64         Redacted                                136,088.31
              202        Redacted                                 47,683.31
              213        Redacted                                424,447.73
             20253       Redacted                                 97,173.00
             20057       Redacted                                 90,166.71
              395        Redacted                                 98,500.01
              394        Redacted                                 72,880.00
              336        Redacted                                 91,168.29
              316        Redacted                                301,060.94
              289        Redacted                                428,050.00
              224        Redacted                                 47,683.31
             20290       Redacted                                 92,009.96
              102        Redacted                                 91,168.29
             20216       Redacted                                 93,693.30
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

              425        Redacted                                137,541.68
             20177       Redacted                                 41,933.36
             20178       Redacted                                145,760.00
              223        Redacted                                186,000.00
             20380       Redacted                                100,800.00
             20398       Redacted                                380,026.66
              520        Redacted                                138,438.67
              521        Redacted                                 62,072.95
              522        Redacted                                 93,693.30
             20062       Redacted                                192,084.97
             20314       Redacted                                 99,333.34
             20020       Redacted                                162,500.00
              43         Redacted                                196,966.66
             20525       Redacted                                298,000.00
              408        Redacted                                 94,433.36
             20006       Redacted                                300,000.00
              166        Redacted                                138,438.67
              165        Redacted                                 99,333.34
             20488       Redacted                                 82,500.00
             20390       Redacted                                280,500.00
             20315       Redacted                                 48,587.00
             20131       Redacted                                 57,690.00
              90         Redacted                                 98,600.01
             20513       Redacted                                185,507.82
              49         Redacted                                 98,700.00
             20123       Redacted                                 28,400.00
              167        Redacted                                 89,000.00
              188        Redacted                                 80,000.00
             20621       Redacted                                 97,059.98
             20362       Redacted                                112,808.29
              203        Redacted                                 31,267.50
             20227       Redacted                                276,250.00
             20041       Redacted                                 97,666.68
              227        Redacted                                 47,666.57
              463        LWM EQUITY FUND LP                      540,506.75
              462        LWM INCOME FUND 2 LLC                   636,000.00
              464        LWM INCOME FUND PARALLEL LLC          3,711,568.47
              527        Redacted                                117,262.38
              252        Redacted                                 77,333.34
              174        Redacted                                 46,883.33
              361        Redacted                                104,225.00
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                               Allowed Investor
                                         14 Claims




          Confirmation
                                                                  Allowed Claim
            Number /             Who is the current creditor?
                                                                        Amount
          Claim Number

             20518       Redacted                                     92,751.63
             20214       Redacted                                     49,416.66
              317        Redacted                                     83,133.33
              201        Redacted                                     47,683.31
              470        MARINER MCA INCOME FUND LLC               2,374,695.72
             20631       Redacted                                    402,336.67
              216        Redacted                                     46,766.66
             20406       Redacted                                     58,718.66
             20732       Redacted                                    236,780.00
             20734       Redacted                                    184,584.90
             20735       Redacted                                    145,760.00
              164        Redacted                                     71,375.00
              89         Redacted                                     46,666.66
             20070       Redacted                                    128,833.32
              518        Redacted                                     97,173.00
              86         Redacted                                     47,999.98
             20557       Redacted                                     84,903.26
             20208       MCA Capital Fund I, LLC                     292,000.00
              454        MCA CAROLINA INCOME FUND LLC                185,833.35
             20207       MCA National Fund, LLC                    7,317,333.84
              380        Redacted                                     97,173.00
              381        Redacted                                     94,433.36
              479        MERCHANT FACTORING INCOME FUND              768,016.68
             20678       Merchant Services Income Fund Parallel   13,822,660.40
              245        Redacted                                     98,500.01
              68         Redacted                                     82,363.83
              113        Redacted                                    304,706.06
              392        Redacted                                     18,266.65
              322        Redacted                                     29,166.52
              274        Redacted                                     25,000.00
             20372       Redacted                                     58,700.00
             20149       Redacted                                    194,347.00
              379        Redacted                                    141,600.00
             20077       Redacted                                     77,076.15
             20078       Redacted                                     91,168.29
             20079       Redacted                                     97,766.68
              375        Redacted                                    246,816.66
             20271       Redacted                                    176,833.34
             20110       Redacted                                    112,300.00
             20111       Redacted                                     57,200.00
             20112       Redacted                                    155,477.00
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                                Allowed Investor
                                          14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

               237       Redacted                                 87,693.30
               257       Redacted                                180,333.29
              20197      Redacted                                 19,333.35
               485       MID-ATLANTIC MCA FUND LLC             3,632,473.34
               267       Redacted                                 60,000.00
               100       Redacted                                236,875.00
              20120      Redacted                                269,000.00
               37        MK ONE INCOME                         1,129,388.68
              20095      Redacted                                 47,333.35
              20221      Redacted                                377,333.34
               306       Redacted                                 95,166.69
               183       Redacted                                 94,775.00
               184       Redacted                                 63,977.51
               311       Redacted                              1,427,716.66
              20349      Redacted                                232,100.00
              20351      Redacted                                184,584.90
               13        Redacted                                244,406.66
               206       Redacted                                240,956.00
               207       Redacted                                 38,898.66
               61        Redacted                                 92,751.63
               62        Redacted                                236,776.66
               388       Redacted                                249,326.66
               173       Redacted                                 89,950.00
               119       Redacted                                114,300.00
               189       Redacted                                112,320.00
               329       Redacted                                 57,480.62
              20084      Redacted                                 83,333.40
              20595      Redacted                                 47,000.00
              20696      Redacted                                601,060.04
               185       Redacted                                 92,009.96
               508       Redacted                                 74,499.99
              20405      Redacted                                269,933.29
              20295      Redacted                                231,666.70
               199       Redacted                                 81,594.33
               85        Redacted                                 28,600.00
              20308      Redacted                                 72,798.16
               124       Redacted                                146,500.00
              20342      Redacted                                155,540.00
               41        Redacted                                169,900.00
              20561      Redacted                                 83,159.96
              20562      Redacted                                115,365.56
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                                Allowed Investor
                                          14 Claims




          Confirmation
                                                                  Allowed Claim
            Number /            Who is the current creditor?
                                                                        Amount
          Claim Number

               12        Redacted                                    23,687.50
              20480      Redacted                                    83,902.83
               14        Redacted                                    97,766.68
              20392      Redacted                                    26,999.98
               161       Redacted                                   315,583.29
               162       Redacted                                   290,725.07
               163       Redacted                                   196,999.99
                         PISCES INCOME FUND LLC & PISCES INCOME
               397                                                13,906,439.30
                         FUND PARALLEL
               151       Redacted                                   369,324.97
               50        Redacted                                    19,704.24
               70        Redacted                                   102,949.97
               72        Redacted                                   123,716.69
               75        Redacted                                   227,746.67
               262       Redacted                                    44,999.45
              20552      Redacted                                   122,850.00
              20015      Redacted                                   172,774.58
              20203      Redacted                                   315,066.70
              20566      RAZR MCA Fund LLC                          857,142.01
              20427      Redacted                                   122,916.62
               97        Redacted                                   250,000.00
              20617      Redacted                                   247,800.00
              20660      Redacted                                    99,333.34
               400       Redacted                                   700,000.01
              20175      Redacted                                   234,266.66
              20179      Redacted                                   170,053.00
              20180      Redacted                                   280,100.00
               349       Redacted                                   157,550.00
                2        Redacted                                   280,000.00
              20215      Redacted                                   108,300.00
               402       Redacted                                   593,999.96
               519       Redacted                                    83,133.33
              20646      Redacted                                    35,667.26
              20181      Redacted                                    46,433.36
              20258      Redacted                                   114,300.00
              20259      Redacted                                   118,200.00
              20268      Redacted                                   113,300.00
               331       Redacted                                    46,250.00
               386       Redacted                                    15,624.87
               80        Redacted                                    94,333.36
               239       Redacted                                    95,166.69
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                                Allowed Investor
                                          14 Claims




          Confirmation
                                                               Allowed Claim
            Number /            Who is the current creditor?
                                                                     Amount
          Claim Number

               240       Redacted                                184,584.90
              20304      Redacted                                195,416.74
               310       Redacted                                380,880.00
              20410      Redacted                                331,625.00
               181       Redacted                                175,266.60
               182       Redacted                                100,326.66
               339       Redacted                                147,750.00
              20254      Redacted                                369,199.93
                6        Redacted                                 99,433.34
              20000      Redacted                                 47,666.69
              20105      Redacted                                181,999.96
              20676      Redacted                                237,500.02
              20060      Redacted                                 91,666.70
               63        Redacted                                594,666.66
               187       Redacted                                190,333.31
              20282      Redacted                                 91,168.29
              20494      Redacted                                138,438.67
               65        Redacted                                 38,864.89
              20283      Redacted                                122,031.83
              20052      Redacted                                 37,432.84
              20333      Redacted                              1,377,599.99
              20334      Redacted                                196,999.99
              20166      Redacted                                 98,500.01
               307       Redacted                                 10,000.00
               117       Redacted                                 23,876.63
              20093      Redacted                                214,500.00
               318       Redacted                                 99,333.34
               266       Redacted                                192,000.00
               468       Redacted                                  9,533.31
              20252      Redacted                                270,600.00
              20576      Redacted                                 86,017.41
              20577      Redacted                                 92,292.44
               172       Redacted                                167,000.00
               430       Redacted                                 46,146.23
               345       Redacted                                439,230.84
               515       Redacted                                 23,833.31
               481       Redacted                                241,666.66
               429       SHERPA I INCOME FUND                  8,229,719.88
              20396      Redacted                                 46,766.69
               246       Redacted                                 50,000.00
               247       Redacted                                 80,000.00
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                                Allowed Investor
                                          14 Claims




          Confirmation
                                                                Allowed Claim
            Number /            Who is the current creditor?
                                                                      Amount
          Claim Number

              20265      Redacted                                  91,909.96
              20413      Redacted                                 157,550.00
                         SPARTAN INCOME FUND & SPARTAN INCOME
               457                                              3,609,996.07
                         FUND PARALLEL
              20499      Redacted                                  81,594.33
              20534      Redacted                                 234,436.66
              20651      Redacted                                  47,683.31
               338       Redacted                                 147,750.00
               433       Redacted                                 159,820.00
               114       Redacted                                 150,150.00
              20339      Redacted                                  50,981.96
              20426      Redacted                                 239,250.00
              20599      STFG Income Fund LLC                   6,999,894.67
              20359      Redacted                                  72,880.00
              20519      Redacted                                  54,291.02
               498       Redacted                                  14,784.04
               535       Redacted                                 205,791.68
              20474      Redacted                                 183,766.63
               312       Redacted                                 661,666.66
               93        Redacted                                 143,246.00
               107       Redacted                                 138,438.67
               116       Redacted                                 182,099.96
               48        Redacted                                 158,300.00
               391       Redacted                                 118,016.64
               221       Redacted                                 462,590.00
              20415      Redacted                                 188,766.64
              20546      Redacted                               3,383,895.87
               96        Redacted                                  97,173.00
               327       Redacted                                  43,645.47
               275       Redacted                                  94,433.36
               449       Redacted                                 207,658.01
              20378      Redacted                                 114,200.00
               493       Redacted                                 125,000.00
              20156      Redacted                                 539,500.00
              20384      Redacted                                 575,691.74
               155       Redacted                                  91,909.96
               156       Redacted                                  57,584.67
               133       Redacted                                  89,433.38
               190       Redacted                                  56,800.00
              20332      Redacted                                  50,000.00
               506       Redacted                                 104,375.00
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                                Allowed Investor
                                          14 Claims




          Confirmation
                                                                   Allowed Claim
            Number /             Who is the current creditor?
                                                                         Amount
          Claim Number

               362       Redacted                                     138,530.97
               363       Redacted                                      91,099.29
              20581      Wellen Fund 1                              1,796,906.57
               233       Redacted                                     225,000.00
               548       Redacted                                      63,733.33
               260       Redacted                                      93,693.30
               39        Redacted                                     113,300.00
              20447      Redacted                                      91,909.96
               10        Redacted                                     187,099.97
              20613      Redacted                                     244,306.66
               467       Redacted                                     100,000.00
              20615      Redacted                                     485,867.00
               332       Redacted                                      86,117.40
              20358      Redacted                                     280,166.66
              20663      Redacted                                      98,500.01
               130       Redacted                                     297,333.35
               153       Redacted                                     139,100.00
              20650      Redacted                                     100,000.00
              20025      Redacted                                     137,750.00
               19        Redacted                                      94,200.04
               21        Redacted                                      48,416.65
               298       Redacted                                     143,666.67
              20601      Workwell Fund I LLC                          442,616.70
              20347      Redacted                                     292,100.00

                                                                $ 227,746,604.01
